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       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

CRIMINAL PROCEEDINGS:                       SENTENCING

MAGISTRATE JUDGE: Debora K. Grasham                         DATE: 1/4/2024
DEPUTY CLERK/ESR: A. Tate                                   TIME: 10:29-11:01 AM

UNITED STATES OF AMERICA vs. Brooks Roberts
Case No. 1:23-cr-00053-DKG-2 & 1:23-mj-00108-DKG-2
Counsel for: United States (AUSA): Christopher Booker and Robert Firpo
              Defendant: Craig Durham and Richard Eppink, CJA (previously appointed)
              Probation: Ryan Lesmeister

(X ) Court reviewed case history. Defendant previously plead guilty to Count 2 of the
Information in 1:23-cr-00053-DKG-2 and Count 3 of the Criminal Complaint in
1:23-mj-00108-DKG-2.
(X ) Presentence Report received by Court and Counsel. No objections to PSR.
(X ) Government’s Oral Motion to Dismiss Counts 1, 3, 4, 5, & 6 of the Information in
1:23-cr-00053-DKG-2 and Count 2 of the Criminal Complaint in 1:23-mj-00108-DKG-2 –
GRANTED.

COMMENTS BY COUNSEL AS TO DISPOSITION
STATEMENT BY DEFENDANT
(X ) Court reviewed sentencing factors as included in 18 USC § 3553(a).

SENTENCING
It is the Judgment of this Court the defendant, Brooks Roberts, be sentenced as follows:

The defendant is sentenced to unsupervised probation for a term of 3 years re:
1:23-cr-00053-DKG-2 and to time served re: 1:23-mj-00108-DKG-2.

The defendant shall pay to the United States a special assessment of $25.00 in
1:23-cr-00053-DKG-2 and $10.00 in 1:23-mj-00108-DKG-2, which shall be due immediately.

During the term of probation, the defendant shall submit nominal monthly payments of 10% of
gross income, but not less than $25.00 per month, unless further modified by the Court. The
defendant shall pay any special assessment or financial obligation owing to the Clerk of the
Court, 550 West Fort Street, Boise, Idaho 83724.

The defendant shall pay any special assessment or other financial obligation imposed by this
judgment in accordance with the Schedule of Payments as ordered by the Court.

The defendant will not enter National Forest Systems (NFS) or Bureau of Land Management
(BLM) lands for the purpose of recreation, camping, or living. This prohibition includes all
National Forests and BLM Public Lands in the United States.

Appeal rights explained. Written Judgment forthcoming.
